
Blandford, J.
The superior court of Schley county convened on, the fourth Monday in September, 1885, and on Tuesday the grand jury returned an indictment for murder against the defendant. He then-being confined in the jail of Sumter county, and being unable to employ counsel, the court announced that he would take up -the case on Friday thereafter, and assigned three attorneys to represent the defendant. When the case was called, a continuance was asked, and the coun*432sel for defendant showed that they were not prepared to proceed; that the defendant had been brought up for trial from the jail in Sumter county late on Thursday evening, and that they had been unable to confer with him so as to prepare his defense :
B. B. Hinton; J. S. McCorkle; B. H. Wilkinsón, for plaintiff in error.
Clifford Anderson, attorney general; C. B. Hudson, solicitor general, by W. A. Hawkins, for the State.
Held, that the court should have granted a postponement of the case either for the term or to some particular day. To deny this would render valueless the right of representation by counsel. Code, 1877, art. 1, sec. 1, par. 5.
Judgment reversed.
